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                           EXHIBIT F-2

            Invoices from BDO USA, P.C.
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                                     EXHIBIT F-2

             DETAIL ON SERVICES PROVIDED BY BDO USA, P.C.

        SUMMARY OF FORENSIC ACCOUNTING & DATA ANALYSIS
         SERVICES BY PROFESSIONAL – JULY TO OCTOBER 2023

        Timekeeper          Hourly Billing Rate Total Hours Billed   Total Fees
     Aira-Ventrella,Jenna         $600.00              78.60         $47,160.00
      Amankwah, David             $200.00              8.60           $1,720.00
     Anand Babu, Geetha           $295.00              13.00          $3,835.00
       Appell, Jennifer           $295.00              7.90           $2,330.50
        Burget, Daniel            $400.00              44.30         $17,720.00
        Cabo, Matthew             $295.00              11.50          $3,392.50
          Carr, Holly             $500.00              31.70         $15,850.00
         Cothran, Eric            $350.00             121.20         $42,420.00
         Daves, Jesse             $600.00              14.40          $8,640.00
        Espejo, Bianca            $175.00              1.70            $297.50
       Friedman, Loren            $325.00              17.50          $5,687.50
         Henley, Erich            $295.00              35.30         $10,413.50
       Herman, Douglas            $600.00              1.50            $900.00
          Kem, Rith               $400.00              3.50           $1,400.00
       Khanekar, Sandip           $175.00              41.30          $7,227.50
         Lockett, Will            $195.00              25.70          $5,011.50
       Luke, Christopher          $295.00              5.90           $1,740.50
       Medina, Andrew             $325.00              67.30         $21,872.50
         Mehta, Mansi             $400.00              37.30         $14,920.00
        Nautiyal, Divya           $195.00              7.30           $1,423.50
        Pai, Raghunath            $295.00              3.80           $1,121.00
         Pan, Mason               $500.00              7.30           $3,650.00
       Paniagua, George           $295.00              6.10           $1,799.50
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        Timekeeper         Hourly Billing Rate Total Hours Billed      Total Fees
         Patel, Ruchit           $295.00                   80.20        $23,659.00
        Perticari, Brian         $350.00                   30.90        $10,815.00
       Plimley, Juliana          $100.00                    8.00          $800.00
       Pomerantz, Glenn          $650.00                   10.60         $6,890.00
        Prasad, Manish           $295.00                   33.20         $9,794.00
        Pujari, Prasad           $325.00                    1.20          $390.00
          Sa, David              $350.00                    1.10          $385.00
       Schnepp, Angela           $100.00                    9.50          $950.00
          Shirk, Eric            $450.00                   14.30         $6,435.00
        Sidach, Sasha            $125.00                   30.40         $3,800.00
      Stepanyan, Hakob           $350.00                   128.50       $44,975.00
      Summers, Tammy             $325.00                   62.00        $20,150.00
         Widell, Liam            $125.00                   94.80        $11,850.00
        Yadav, Akshay            $195.00                   36.60         $7,137.00
          Yost, Gini             $295.00                    0.90          $265.50

           Totals:                                      1,134.90       $368,828.00

                                           Professional Hours:      1,134.90

                                           Professional Fees:       $368,828.00

                                           Blended Rate:            $324.99

                                           Expenses:                $8,787.57

                                           - Discount (30%):        $(113,284.67)

                                           Revised Total:           $264,330.90
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               [Invoices Filed Under Seal -
               Redacted in Full]
